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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------x
 In re:

 KANGADIS FOOD INC.                                                 Chapter 11
  d/b/a The Gourmet Factory,
                                                                    Case No. 14-72649 (___)

                                        Debtor.
 ----------------------------------------------------------x

            DEBTOR’S MOTION FOR ORDER PURSUANT TO BANKRUPTCY CODE
           § 502(c) AUTHORIZING ESTIMATION OF DEBTOR’S LIABILITY IN CLASS
          ACTION, AND ESTABLISHING SCHEDULE FOR ESTIMATION PROCEEDING

 TO:      THE HONORABLE _______________
          UNITED STATES BANKRUPTCY JUDGE

          Kangadis Food Inc., the above-captioned debtor and debtor in possession (the

 “Debtor”), by its proposed counsel, SilvermanAcampora LLP, submits this motion (the

 “Motion”), the Declaration of Craig M. Fine in Support of the Motion, dated June 6, 2014 (the

 “Fine Declaration”), the Declaration of George Krueger in Support of the Motion, dated June 6,

 2014 (the “Krueger Declaration”), and respectfully represents as follows:

                                            PRELIMINARY STATEMENT

          1.        By this Motion, the Debtor requests, pursuant to section 502(c) of title 11, United

 States Code (the “Bankruptcy Code”), that the Court estimate the Debtor’s aggregate liability

 with respect to the claims set forth in the Class Action (defined below), pending in the U.S.

 District Court for the Southern District of New York. Specifically, the Debtor requests that the

 Court approve the proposed scheduling order annexed hereto (the “Scheduling Order”), which

 sets for a timeline for an estimation proceeding before this Court.



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        2.      Estimating the Debtor’s aggregate liability in the Class Action is essential

 because the Debtor cannot confirm a chapter 11 plan in this case until the amount of the Class

 Claim is determined. Discovery in the Class Action is completed, and this Court could conduct

 an expedited estimation hearing to fix the amount of the claim.

        3.      The alternative of lifting the automatic stay to permit the U.S. District Court to

 conduct a two-week jury trial and determine the claim is not practical, or in the best interests of

 creditors because the Debtor cannot afford the legal fees which will be required to conduct such

 a trial, which the Debtor estimates will be at least $750,000.00. See Krueger Declaration, ¶5.

 Moreover, the jury trial may result in a finding of no liability, or a finding of liability with no

 damage award. See Krueger Decl., ¶11-12.         In that case, the Debtor will have paid for a very

 expensive trial, merely to reach the conclusion that the Class Action plaintiffs are not entitled to

 any damages.

        4.      The Debtor intends to file a chapter 11 plan in the next two (2) weeks which will

 provide distributions to allowed creditors in accordance with the priority scheme set forth in the

 Bankruptcy Code. Assuming that the Class Claim is estimated at zero, or an amount less than

 $1 million, the Debtor expects to be able to confirm a chapter 11 plan that pays creditors in full.

 Absent estimation of the Class Claim, the Debtor would have to reserve for the full amount of

 the asserted Class Claim in the amount of approximately $35 million.

        5.      Over the past six months, the Debtor has attempted to settle the Class Action

 claim, but unfortunately no settlement has been reached. See Krueger Decl., ¶6. The parties

 are at an impasse, and the only rational way to proceed is to schedule an estimation hearing to

 establish the allowed amount of the claim. Judge Rakoff has scheduled a two-week jury trial to

 begin on September 3, 2014. The cost and disruption that will be caused by a jury trial will

 adversely affect the prompt confirmation of a plan in this case, drain the Debtor’s resources,

 further distract the Debtor’s officers and employees from running the Debtor’s business

 operations, and diminish whatever recoveries are available to unsecured creditors.

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           6.    Moreover, without a prompt estimation of the Class Claim, the Debtor’s

 operations will suffer and its ability to reorganize will be severely hampered.           See Fine

 Declaration, ¶7. Further, it is unlikely that Citibank, N.A. (“Citibank”) the Debtor’s pre Petition

 Date secured lender, will consent to funding the cost of the trial.

           7.    For the reasons set forth below, the Debtor believes that the Class Claim should

 be estimated at zero for all purposes, including allowance, voting, and distribution under any

 chapter 11 plan proposed by the Debtor in these cases.            The Court should schedule an

 estimation proceeding and enter an order substantially similar to the Scheduling Order annexed

 hereto.

                                          BACKGROUND

           8.    On June 6, 2014 (the “Petition Date”), the Debtor commenced a case under

 chapter 11 of the Bankruptcy Code, in this Court.

           9.    The Debtor is a food import and distribution company formed in 2003.            The

 Debtor is a leading importer of olives and other European delicacies, and is a leading producer

 of olive oil. The Debtor sells its products under the brand names “Capatriti,” “Porto,” “Olio Villa,”

 “Zorba,” and “Kivotos.” The Debtor’s customers consist primarily of wholesale vendors who then

 sell direct to consumers.

           10.   For the past six years, the popularity of the Debtor’s olive oil product sold under

 the brand name “Capatriti” has grown over time, and it now occupies approximately 15% of the

 market in the New York metropolitan area.

           11.   The Debtor has 51 employees and operates from a facility located in Hauppauge,

 New York, that serves as a warehouse, production facility, and shipping center.

           12.   On the Petition Date, the Debtor was indebted to Citibank, N.A. (“Citibank”) in

 the amount of $3.5 million under a line of credit. Citibank’s loan is secured by a first-priority

 security interest in substantially all of the Debtor’s assets, including inventory and accounts

 receivable.

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        13.     The Debtor remains in possession of its property and management of its affairs

 pursuant to Bankruptcy Code §§ 1107(a) and 1108.

        14.     To date, no committee, trustee, or examiner has been appointed in this case.

        15.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

        16.     Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                         THE NAOOA ACTION AND THE CLASS ACTION

 The NAOOA Action

        17.     In or about February 2013, the North American Olive Oil Association (“NAOOA”),

 a trade association representing the interests of the olive oil industry, commenced an action (the

 “NAOOA Action”) against the Debtor for violating Section 43(a) of the Lanham Act, 15 U.S.C.

 §1125(a), and for deceptive acts and practices and false advertising under New York General

 Business Law §§ 349 and 350, titled North American Olive Oil Association (NAOOA) v.

 Kangadis Food Inc., Index No. 13 Civ. 868, in the United States District Court for the Southern

 District of New York.

        18.     NAOOA alleged that the Debtor labeled its bottles and tins produced and sold

 under the Capatriti brand, as “100% pure olive oil,” even though the Capatriti brand of oil was

 allegedly composed of olive pomace oil.

        19.     In or about July 2013, the Debtor and NAOOA settled the NAOOA Action and

 entered into a confidential settlement agreement, pursuant to which the Debtor made no

 admission of liability. As a result of the publicity surrounding the NAOOA Action, a number of

 customers cancelled their orders for the Debtor’s olive oil products, and a class action lawsuit

 was filed against the Debtor.

 The Class Action

        20.     On April 8, 2013, Joseph Ebin and Yeruchum Jenkins commenced an action

 against the Debtor in the United States District Court for the Southern District of New York (the

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 “District Court”) titled Joseph Ebin, Yeruchum Jenkins, et al. v. Kangadis Food Inc., d/b/a The

 Gourmet Factory, Index No. 1:13-cv-02311-UA (the “Class Action”), asserting causes of action

 for fraud and breach of warranty under both New York and New Jersey law relating to the

 Debtor’s alleged misbranding and sale of “olive-pomace oil” as “olive oil.” Notably, the Class

 Action relates only to the Debtor’s “Capitriti”™ brand of olive oil.

        21.       The plaintiffs in the Class Action alleges that the Debtor sold containers of

 “Capitriti”™ brand “100% Pure Olive Oil” that actually contained an industrially processed

 substance known as “olive-pomace oil,” “olive-residue oil”, or “pomace.”

        22.       The Debtor alleges that, even if there is liability for mislabeling (which the Debtor

 disputes), the plaintiffs cannot objectively ascertain the actual members of the class, or the

 extent of any injury by the putative class members.

        23.       On December 11, 2013, U.S. District Court Judge Rakoff certified the Class

 Action under Rule 23 of the Federal Rules of Civil Procedure, over the Debtor’s objection. On

 February 25, 2014, he issued a memorandum opinion setting forth the reasons for that ruling,

 and a separate memorandum order denying the Debtor’s motion for summary judgment.

 (Copies of the order and memorandum opinion are annexed hereto Exhibit A and Exhibit B,

 respectively)

        24.       As stated above, Judge Rakoff scheduled a two-week jury trial beginning

 September 3, 2014. The Debtor disputes that the plaintiff can prove liability, and even if it can,

 the Debtor disputes that the plaintiff can properly identify the individual consumers who might

 have been damaged by the mislabeling (collectively, the “Class Members”).               See Krueger

 Decl., ¶10-12.

        25.       In his decision, Judge Rakoff expressed some concern about the plaintiffs’ ability

 to identify the Class Members by referring to objective criteria. See Memorandum Opinion, p. 9-

 11. This is known as the “implied requirement of ascertainability.” See Memorandum Opinion,

 at p. 9. Indeed, Judge Rakoff acknowledged that Class Members will not have receipts or

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 remember details as to their purchases of the Debtor’s Capatriti™ oil. It follows then, that any

 declaration those Class Members might sign would be unreliable. See Memorandum Opinion, p.

 11.

          26.      The Debtor has incurred legal fees, and related costs of approximately $1.4

 million in connection with defending the NAOOA Action and the Class Action over the past year.

 See Krueger Decl., ¶5; Fine Decl. ¶5. The filing of this chapter 11 case was directly caused by

 both these costs and the significant disruption to the Debtor’s business.

                                              RELIEF REQUESTED

 The Need for Estimation

          27.      The only chance the Debtor has to reorganize is to promptly estimate the Class

 Action claim under Bankruptcy Code § 502(c) so that the Debtor can promptly propose a

 chapter 11 plan which will satisfy the claims of creditors.

          28.      But for the crippling attorneys’ fees and costs incurred as a result of the Class

 Action, and the tremendous disruption to the Debtor’s relationship with customers and its

 employees, the Debtor is operating profitably. See Fine Decl., ¶ 8.

          29.       The Debtor has in good faith attempted to settle the Class Action but those

 efforts have not been successful. See Krueger Decl., ¶6. The Debtor believes that the Class

 Action plaintiffs, and their attorneys, are seeking an unreasonable amount of damages that

 cannot be proven at trial, and certainly cannot be satisfied from the Debtor’s assets, or from its

 available credit under the Citibank line. Id.

          30.       Here, the Debtor has been unable to settle the Class Action because of the

 unrealistic settlement expectations and scorched-earth litigation tactics of counsel to the Class

 Action plaintiffs.1 See Krueger Decl., ¶6. Thus, the Debtor is left with no choice but to seek the


 1
    For example, Bursor & Fisher, P.A., counsel to the Class Action plaintiffs, during the pendency of the Class Action,
 filed a complaint against the shareholders of the Debtor and an affiliate of the Debtor for alter-ego liability and
 piercing the corporate veil. The filing was in direct violation of an Order of Judge Rakoff. On April 11, 2014, Judge
 Rakoff effectively sanctioned Bursor & Fisher, P.A, and dismissed the complaint without prejudice. The Debtor

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 protection of the automatic stay and an estimation of the Class Action claim.

          31.      The Debtor believes that the Class Claim should be estimated at zero for the

 following reasons. The summary below is merely designed to provide the Court with a general

 idea of the issues. If this Motion is granted, the Debtor and the Class Action plaintiffs will

 provide briefs to this Court regarding the estimation of the Class Action claim.

          32.      First, the vast majority of the Class Members cannot be readily ascertained by

 reference to objective criteria. See Krueger Decl., ¶10. In discovery, permitted by the U.S.

 District Court after certifying the Class, it was revealed that the Class Action plaintiffs were able

 to identify fewer than 200,000 Class Members, a tiny fraction of the size of the alleged Class.

 Under applicable federal class action law, this infirmity is fatal to the Class claims. See, e.g.,

 Carrera v. Bayer Corp., 727 F. 3d 300, 310 (3d Cir. 2013) (denying class certification where

 class membership is largely based on non-objective criteria and self-identification), Karhu v.

 Vital Pharm., Inc., No 13-60768-CIV, 2014 WL 815253 (S.D. Fla. March 3, 2014) (denying

 certification in class action suit brought by Bursor & Fisher related to representations in

 connection with sale of dietary supplement.)

          33.      Second, when the District Court certified a nationwide class for claims of fraud

 and misrepresentation, it did so in reliance on the allegations of the Class Members that the

 Debtors only sold the olive oil in question in “five different states” in the Northeast. See Krueger

 Decl., ¶10. Based on that representation, the District Court concluded that a class could be

 certified because the law on fraud and misrepresentation is not materially different between and

 among the states of New York, Vermont, Connecticut, New Jersey and Pennsylvania. However,

 post-certification discovery has revealed that Class Members are located in all 50 states and,

 thus, the Class Members cannot possibly assert claims for fraud and misrepresentation

 because the laws governing fraud and misrepresentation vary in many states.


 expects that Bursor & Fisher, P.A may attempt to use the threat of the alter-ego claim against the Debtor in this case
 in order to apply pressure on the Debtor. See Krueger Decl., ¶6.

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         34.     Third, Class members have a high burden of proof in proving liability given that

 olive-pomace oil is “olive oil” in every way, shape, and form. See Krueger Decl., ¶11. Expert

 testimony has already been submitted to the U.S. District Court showing that olive-pomace oil is

 “olive oil” because it is derived exclusively from the olive fruit. Id.

                                         APPLICABLE LAW

         35.     Bankruptcy Code § 502(c) provides, in pertinent part, that “[t]here shall be

 estimated for purpose of allowance under this section . . . any contingent or unliquidated claim,

 the fixing or liquidation of which, as the case may be, would unduly delay the administration of

 the case . . . .” 11 U.S.C. § 502(c)(1). Estimation “provides a means for a bankruptcy court to

 achieve reorganization, and/or distribution on claims, without awaiting the results of [potentially

 protracted] legal proceedings.” In re Adelphia Bus. Solutions, Inc. 341 B.R. 415,422 (Bankr.

 S.D.N.Y. 2003) (citing In re Continental Airlines, Inc., 981 F.2d 1450, 1461 (5th Cir. 1993)); In re

 Sneijder, 407 B.R. 46, 55 (Bankr. S.D.N.Y. 2009) (holding that the court could estimate an

 unliquidated claim to assess the feasibility of a plan of reorganization).

         36.     “Furthermore, the Code requires estimation of all contingent or unliquidated

 claims which unduly delay the administration of the case.” In re Nat’l Gypsum Co., 139 B.R.

 397, 405 (N.D. Tex. 1992) (internal quotations omitted); see also Frito-Lay Inc. v. LTV Steel Co.,

 Inc. (In re Chateaugay Corp.), 10 F.3d 944,957 (2d Cir. 1993) (noting that bankruptcy court

 “must estimate” contingent and unliquidated claims); In re RNI Wind Down Corp. 369 B.R. 174,

 191 (Bankr. D. Del. 2007); In re Lane, 68 B.R. 609,611 (Bankr. D. Haw. 1986) (“This duty [to

 estimate] is mandatory, since the language of [section 502(c)] states ‘shall’”).

         37.     Even absent a finding of undue delay or other requirement under Bankruptcy

 Code § 502(c), it is with a court’s sound discretion to estimate a claim. See In re RNI Wind

 Down Corp., 369 B.R. 174, 191 (Bankr. D. Del. 2007).

         38.     Any delay in resolving the Class Action claim would delay the administration of

 this case by preventing the Debtor from confirming a chapter 11 plan, distracting the Debtor’s

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 officers and employees from efficiently managing the Debtor’s business operations, and further

 increasing the Debtor’s legal fees and expenses. See In re Nova Real Estate Inv. Trust, 23 B.R.

 62, 65 (Bankr. E.D. Va. 1982); In re Fox, 64 B.R. 148, 150 (Bankr. N.D. Ohio 1986).

         39.     A chapter 11 “reorganization must be accomplished quickly and efficiently.”

 Bittner v. Borne Chem. Co., 691 F.2d 134, 137 (3d Cir. 1982); In re Kaplan, 186 B.R. 871, 874

 (D.N.J. 1995) (citing Bittner, 691 F.2d 134).        Aims of the Bankruptcy Code furthered by

 estimation include (i) not unduly delaying the closing of the bankruptcy case, and (ii) the

 protection of creditors. Bittner, 691 F.2d at 136-37; Ford v. Durkay, 967 F.2d 1047, 1052 (5th

 Cir. 1992). By removing the need to wait for the results of outside lawsuits, estimation achieves

 the goal of moving a bankruptcy case toward its conclusion at a quickened pace that may not be

 possible otherwise. See In re Adelphia Bus. Solutions, Inc. 341 B.R. 415, 422 (Bankr. S.D.N.Y.

 2003) (recognizing that it would be “inappropriate to hold time-consuming proceedings which

 would defeat the very purpose of 11 U.S.C. § 502(c)(1) to avoid undue delay); Ford, 967 F.2d at

 1052.   Creditors are protected, among other ways, by decreased administrative expenses,

 prompt distribution on their claims for which interest does not accrue after filing, increases in the

 ultimate distribution by minimization of the obstacles companies in bankruptcy face, and

 promotion of a “fair distribution through a realistic assessment of uncertain claims.” Bittner, 691

 F.2d at 136-37; Ford, 967 F.2d at 1052.

         Methods for Estimation

         40.     A court may estimate the approximate value of a claim using “whatever method

 is best suited to the circumstances” at issue and recognizing that absolute certainty is not

 possible. In re Brints Cotton Marketing, Inc. 737 F.2d 1338, 1341 (5th Cir. 1984); see also

 Maxwell v. Seaman Furniture Co. (In re Seaman Furniture Co. of Union Square, Inc.) 160 B.R.

 40, 42 (S.D.N.Y. 1993) (“When estimating claims, bankruptcy courts may use whatever method

 is best suited to the contingencies of the case, so long as the procedure is consistent with the

 fundamental policy of Chapter 11 that a reorganization must be accomplished quickly and

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 efficiently.”).

          41.      Although the court is bound by the legal rules that govern the ultimate value of

 the claim, it has wide discretion in establishing the method to be used to arrive at an estimate of

 the value of the claim. See In re Chemtura Corp., 448 B.R. 635, 648-49 (Bankr. S.D.N.Y. 2011)

 (“The court is bound by the legal rules that may govern the ultimate value of the claim . . . [but]

 there are no other limitations on the court’s authority to evaluate the claim save those general

 principles which should inform all decisions made pursuant to the [Bankruptcy Code].”); In re

 Windsor Plumbing Supply Co. Inc., 170 B.R. 503, 521 (Bankr. E.D.N.Y. 1994) (advocating use

 of probabilities in estimation of claims rather than more simplistic all or nothing approach); see

 also Bittner, 691 F.2d at 135 (estimation requires only “sufficient evidence on which to base a

 reasonable estimate of the claim”); In re Baldwin-United Corp., 55 B.R. 885, 898-99 (Bankr.

 S.D. Ohio 1985) (estimation “does not require that the judge be clairvoyant”).

          42.      Bankruptcy courts have wide discretion in choosing the process for estimating a

 claim. The methods used by courts include summary trials (Baldwin, 55 B.R. at 889), a review of

 written submissions of proposed facts (Windsor, 170 B.R. at 517), and a review of the pleadings

 and briefs. In re Lane, 68 B.R. 609, 613 (Bankr. D. Haw. 1986); In re Apex Oil Corp. 92 B.R.

 843, 845 (Bankr. E. D. Mo. 1998) (applying summary trial brief on each claim subject to

 estimation). Whatever procedure the bankruptcy court chooses to estimate a claim, it must be

 consistent with the policy underlying chapter 11, that a “reorganization must be accomplished

 quickly and efficiently.” Bittner, 691 F. 2d at 137 (citing 124 Cong. Rec. H 11101-H 11102 (daily

 ed. Sept. 28 1978); see also Maxwell v. Seaman Furniture Co. (In re Seaman Furniture Co. of

 Union Square, Inc.) 160 B.R. 40, 42 (S.D.N.Y. 1993).

          43.      In Bittner, the court found that the evaluation of a claim and the estimation of its

 value may be performed by whatever means the court feels is appropriate, except that the value

 of the claim is ultimately governed by the law governing the underlying action and associated

 damages. Id. Similarly, courts have held that

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                 [a]n estimator of claims must take into account the likelihood that
                 each party’s version might or might not be accepted by a trier of
                 fact. The estimated value of a claim is then the amount of the
                 claim diminished by probability that it may be sustainable only in
                 part or not at all. Recognizing that the magnitude of recovery is to
                 a large extent dependent upon the individual backgrounds of the
                 triers of the facts, what we are given to deal with is a range of
                 possible awards which we must first turn into a range of probable
                 awards running from zero to the full amount of the claim. An
                 expected value can then be found by multiplying a number of
                 possible recovery values by the probability of their occurrence and
                 taking the sum of these products.
 In re Thomson McKinnon Securities, Inc., 191 B.R. 976, 990 (Bankr. S.D.N.Y. 1996) (citing In re

 Windsor Plumbing Supply Co. Inc., 170 B.R. 503, 521 (Bankr. E.D.N.Y. 1994)); accord In re

 Farley, Inc., 146 B.R. 748, 753-54 (Bankr. N.D. Ill. 1992)); see also See In re Adelphia Bus.

 Solutions, Inc. 341 B.R. 415, 422 (Bankr. S.D.N.Y. 2003) (“The estimated value of a claim is

 then the amount of the claim diminished by [the] probability that it may be sustainable only in

 part or not at all.”) (citing to In re Ralph Lauren Womenswear, 197 B.R. 771 (Bankr. S.D.N.Y.

 1996)).

           44.    Here, estimation is critical because an expensive jury trial before Judge Rakoff

 can only produce a finite number of results: (i) finding of no liability; (ii) finding of liability, and no

 damages; or (iii) finding of liability and a certain damage award. Under the first two scenarios,

 the trial would constitute a waste of estate resources. Under the third scenario, assuming a

 damage award of $1 million or less, the Debtor will have spent approximately $750,000.00 or

 more in additional legal fees and expenses related to the Class Action, only to determine that it

 owes the Class Action plaintiffs $1 million. Under those circumstances, it is clearly far more

 beneficial to all parties, and preferable to the Debtor, for this Court conduct a less expensive,

 more efficient, estimation proceeding so that the Debtor can be in a better position to pay the $1

 million claim under a chapter 11 plan. Further, it is unlikely that Citibank will fund the legal fees

 and expenses associated with a jury trial.

 Proposed Estimation Procedures

           45.    The Debtor proposes that the Court establish the following procedures with

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 respect to an estimation hearing:

                 An estimation hearing will be scheduled by the Court.

                 No additional discovery will be taken.

                 No live testimony will be taken. The Court will be provided copies of all

                  deposition transcripts. To the extent required by the Court, the Court will be

                  provided with copies of the video tapes of all depositions.

                 Each party will file and exchange copies of all briefs, exhibits and expert reports

                  relevant to the estimation hearing.

                 The parties will simultaneously submit one additional brief on the issue of

                  estimating the Class Claim.

                                            CONCLUSION

        46.       The Class Claim poses an immediate threat to the Debtor’s ability to maximize

 value in connection with its reorganization. The potential protracted jury trial and attendant

 distraction could derail the successful resolution of this chapter 11 case. See Fine Decl., ¶6.

 Therefore, estimation under Bankruptcy Code § 502(c) is appropriate.

        47.       Further, the holders of the Class Claim cannot meet their substantial burden of

 proving liability or damages. Thus, given the strength of the Debtor’s defenses to the Class

 Claim, the Class Claim should be estimated at zero.

        48.       The Debtor has served notice of this Motion, on: (i) all of the Debtor’s creditors;

 (ii) counsel to the committee of unsecured creditors, if one is appointed; (iii) counsel to the Class

 Action plaintiffs; (iv) all parties whom or which have filed a notice of appearance in this case; (v)

 the Office of the United States Trustee for Region 2; and (vi) counsel to Citibank, N.A., the

 Debtor’s secured creditor.

        49.       No previous request for the relief sought herein has been made by the Debtor to

 this or any other Court.



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                WHEREFORE, the Debtor respectfully requests that the Court (i) estimate the

 Class Action claim, (ii) enter an order substantially in the form annexed hereto as Exhibit C

 establishing estimation procedures, and (iii) grant the Debtor such other and further relief as this

 Court deems proper.

 Dated: Jericho, New York
        June 6, 2014                           SILVERMANACAMPORA LLP
                                               Proposed Attorneys for Kangadis Food Inc.



                                               By: s/ Adam Rosen
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